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                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                        BANKRUPTCY NO. 18-12981-ref
ROBIN LIGGON
fka ROBIN CONTRERAS                           CHAPTER NO. 13

CENTER CITY URBAN RENEWAL
ASSOCIATES, LP,                               11 U.S.C. §§ 362, 365, 1301
                    Movant

   v.

ROBIN LIGGON fka ROBIN
CONTRERAS,
  Debtor

   And

XIOMARA B. CONTRERAS,
  Non-filing Codebtor

Respondent(s)

        NOTICE OF MOTION, RESPONSE DEADLINE AND HEARING DATE

         CENTER CITY URBAN RENEWAL ASSOCIATES, LP, has filed a Motion Of
Center City Urban Renewal Associates, Lp. For Relief From The Automatic Stay As To
Non-Filing Codebtor Under 11 U.S.C. § 362 An 11 U.S.C. § 1301 For Cause And For
Determination Of Rejection Of Executory Contract Under 11 U.S.C. § 365 To
Lease/Guaranty Agreement

       1.            Your rights may be affected. You should read these papers
carefully and discuss them with your attorney, if you have one in this bankruptcy case.
(If you do not have an attorney, you may wish to consult an attorney).

       2.     If you do not want the court to grant the relief sought in the Motion or if
you want the court to consider your views on the Motion, then on or before February 28,
2019 you or your attorney must file a response to the Motion. (see Instructions on next page).

       3.      A hearing on the Motion is scheduled to be held on March 7, 2019, at
9:30am before the Honorable Richard E. Fehling, United States Bankruptcy Court,
The Madison Building, 400 Washington Street, Reading, PA 19601. Unless the court orders
otherwise, the hearing on this contested matter will be an evidentiary hearing.

         4.    If you do not file a response to the Motion, the court may cancel the hearing
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and enter an order granting the relief requested in the Motion.

      5.     You may contact the Bankruptcy Clerk's office at 610-208-5040 to find out
whether the hearing has been canceled because no one filed a response.

        6.     If a copy of the motion is not enclosed, a copy of the Motion will be provided to
you if you request a copy from the attorney whose name and address is listed on the next page of
this Notice.

                                          Filing Instructions

     7.    If you are required to file documents electronically by Local
Bankruptcy Rule 5005-1, you must file your response electronically.

       8.      If you are not required to file electronically, you must file your response at

                                United States Bankruptcy Court
                                    The Madison Building
                                    400 Washington Street
                                           Suite 301
                                      Reading, PA 19601

       9.     If you mail your response to the bankruptcy clerk’s office for filing, you
must mail it early enough so that it will be received on or before the date stated in Paragraph 2
on the previous page of this Notice.

       10.     On the same day that you file or mail your Response to the Motion, you must
mail or deliver a copy of the Response to the movant’s attorney:

                                     Shawn J. Lau, Esquire
                                     Lau & Associates, P.C.
                                   4228 St. Lawrence Avenue
                                       Reading, PA 19606
                                      610-370-2000 Phone
                                       610-370-0700 Fax
                                     Shawn_lau@msn.com

Dated: ___2/14/2019____                             /s/Shawn J. Lau
                                                    Shawn J. Lau, Esquire
                                                    Lau & Associates, P.C.
                                                    Attorney for Debtor
                                                    4228 St. Lawrence Avenue
                                                    Reading, PA 19606
                                                    610-370-2000 phone
                                                    610-370-0700 fax
                                                    shawn_lau@msn.com
